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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 18-CV-24586-PCH
CASE NO. 18-CV-24472-JEM
ALEXANDER JOHNSON,

Plaintiff,
Vv.

OCARIS MANAGEMENT GROUP INC
d/b/a U-GAS EAST FLAGER,

Defendant.

 

ALEXANDER JOHNSON,
Plaintiff,
V.
27TH AVENUE CARAF, INC. d/b/a Caraf Oil,

Defendant.

 

ORDER REGARDING SANCTIONS

THIS CAUSE is before the Court sua sponte for the purpose of determining the term for
the enforcement of paragraphs one and two of the Order Imposing Sanctions [ECF No. 86],
(“Order”). In paragraph one of the Order, Alexander Johnson (“Johnson”) and Scott R. Dinin
(“Dinin”) as indicated are ordered to disgorge all fees and costs recovered in each of the “gas
pump” cases. Order at 18. In paragraph two of the Order, the Court gave Johnson and Dinin the
option of paying the imposed monetary sanctions to either the Clerk of this Court or the Disability

Independence Group, a 501(c)(3) non-profit organization. /d. at 18-19. In addition, Johnson is
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given the option of performing 400 hours of community service for the Disability Independence
Group, Inc., a 501(c)(3) non-profit corporation (or such other similar entity which Johnson selects,
subject to the Court’s approval). Jd. at 19.

On or before September 12, 2019, Johnson and Dinin shall:

1. Produce an accounting of the amount received from all of the gas pump defendants,
together with a schedule for returning those amounts to the respective defendants.

2. Advise the Court whether the monetary penalty imposed in paragraph two of the Order
will be paid to the Clerk of this Court or the Disability Independence Group, together
with a schedule for paying the penalty. Further, if Johnson elects to perform
community service hours in lieu of the monetary penalty, he shall advise the Court of
that election, the entity for which he prefers to perform the community service hours,
and a proposed schedule for performing the hours.

DONE and ORDERED in Chambers in Miami, Florida on August 30, 2019.

 

 

PAULCH
UNITED STATES DISTRICT JUDGE

cc: counsel of record
